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                            UNITED STATES DISTRICT COURT
10                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
11
12 UNITED STATES OF AMERICA, )
                                 )
13                   Plaintiff,  )               CASE NO.      06-461 M
                                 )
14         v.                    )
                                 )
15                               )               DETENTION ORDER
    LONG DUY TRAN,               )
16                               )
                Defendant.       )
17 ______________________________)
18 Offense charged:
19            Conspiracy to Distribute Marijuana
20 Date of Detention Hearing: September 8, 2006
21            The Court, having conducted a contested detention hearing pursuant to Title 18
22 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
23 hereafter set forth, finds that no condition or combination of conditions which the defendant
24 can meet will reasonably assure the appearance of the defendant as required and the safety
25 of any other person and the community. The Government was represented by Susan Roe.
26 The defendant was represented by Courtney Knudsen.


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 1      FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2         (1)   There is probable cause to believe the defendant committed the drug
 3               offense. The maximum penalty is in excess of ten years. There is
 4               therefore a rebuttable presumption against the defendant’s release based
 5               upon both dangerousness and flight risk, under Title 18 U.S.C. §
 6               3142(e).
 7         (2)   Nothing in this record satisfactorily rebuts the presumption against
 8               release for several reasons: Using the factors below, under Title 18 §
 9               3142 (g), the Court considered the following:
10               (a)    The alleged offense involves 100 kilograms or more of a
11                      controlled substance mixture containing marijuana.
12               (b)    Defendant’s prior criminal history includes intimidating a witness.
13               (c)    Defendant is a citizen of Vietnam and the information provided
14                      regarding his status is unverified; the Bureau of Immigration and
15                      Customs Enforcement (“BICE”) has placed a detainer against
16                      defendant.
17               (d)    Unstable employment history.
18         (3)   Based upon the foregoing information, which is consistent with the
19               recommendation of U.S. Pre-trial Services, it appears that there is no
20               condition or combination of conditions that would reasonably assure
21               future Court appearances and/or the safety of other persons or the
22               community.
23         It is therefore ORDERED:
24         (l)   The defendant shall be detained pending trial and committed to the
25               custody of the Attorney General for confinement in a correction facility
26               separate, to the extent practicable, from persons awaiting or serving

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 1               sentences or being held in custody pending appeal;
 2         (2)   The defendant shall be afforded reasonable opportunity for private
 3               consultation with counsel;
 4         (3)   On order of a court of the United States or on request of an attorney for
 5               the Government, the person in charge of the corrections facility in which
 6               the defendant is confined shall deliver the defendant to a United States
 7               Marshal for the purpose of an appearance in connection with a court
 8               proceeding; and
 9         (4)   The clerk shall direct copies of this order to counsel for the United
10               States, to counsel for the defendant, to the United States Marshal, and to
11               the United States Pretrial Services Officer.
12         DATED this 11th day of September, 2006.
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                                                    A
                                                    MONICA J. BENTON
17                                                  United States Magistrate Judge

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     DETENTION ORDER
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